                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE

  DANIEL BRADLEY DAVIS

  v.                                                  Case No.: 1:20−mc−00004−TRM−SKL

  ANDREW LAWRENCE BERKE




                                          NOTICE of Deficiency (IFP)

      The Court is in receipt of your complaint/petition. However, in order for this matter to proceed, you must
  either pay the required filing fee or submit an application to proceed in forma pauperis. Pursuant to E.D.
  Tenn. L.R. 4.5, this matter will be administratively closed if the deficiency is not cured within twenty days.




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